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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

THOMAS GALLAGHER, Individually and on
Behalf of All Others Similarly Situated,

Plaintiff,

No.: 1:17-CV-12288-GAO

OCULAR THERAPEUTIX, INC. et al.,

Defendants.

 

DYLAN CARAKER, Individually and on
Behalf of All Others Similarly Situated,

Plaintiff,

No.: 1:17-CV-12146-GAO

OCULAR THERAPEUTIX, INC. ez al.,
Defendants.

 

SHAWNA KIM, Individually and on Behalf of
All Others Similarly Situated,

Plaintiff,

No.: 1:17-CV-12286-GAO

OCULAR THERAPEUTIX, INC. et al.,
Defendants.

Newee? Nemee? Nooo Nome Smee Nome! Sermo’ ee Nome Sm Nome Nm Some” See me Nm Nee Ne” Nee Name Nae Nene” Nene” Sem Nee Nore Nee Sener” Nene! Nene Nene Nee? Nee Nene” Nine Star” See” Nome” Ne” See” See” Nee” Nee”

 
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ORDER CONSOLIDATING RELATED ACTIONS, APPOINTING LEAD PLAINTIFFS
AND APPROVING SELECTION OF COUNSEL

WHEREAS, the Court has considered:

1. The competing motions for Consolidation, Appointment of Lead Plaintiffs and Approval
of Lead Counsel filed on September 5, 2017;

2. The subsequent filings of Yau-Hung Chow; Kenneth Hermson, Jean Claude Dumont,
Penny Poirier, and Cynthia Troy (colfectively, the “Chow Group”), Thomas Gallagher
(“Gallagher”), Osi Peters (“Peters”) and Glenn Stephenson (“Stephenson”) either withdrawing
their motions or notifying the Court that they do no oppose the competing motions; and

3. The January 12, 2018 Motion of William L. Stephens, Kavita Mehta, and Oleg Tkalych
(collectively, the “Ocular Investor Group”) and Khaled Ramadan (“Ramadan”) seeking Co-Lead
Plaintiff status. |

IT IS HEREBY ORDERED THAT:

I, CONSOLIDATION OF RELATED ACTIONS

 

1. Pursuant to Federal Rule of Civil Procedure 42, the above-captioned actions are
hereby consolidated for all purposes into one action.

2. These actions shall be referred to herein as the “Consolidated Action.” This
Order shall apply to the Consolidated Action and to each case that is subsequently filed in this

Court that relates to the same subject matter as in the Consolidated Action.

3. Every pleading in this Consolidated Action shall bear the following Caption:
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

 

 

 

IN RE OCULAR THERAPEUTIX, INC. No. 1:17-cv-12288-GAO
SECURITIES LITIGATION
CLASS ACTION
[TITLE OF DOCUMENT]
4. When the document being filed pertains to all actions, the phrase “All Actions”

shall appear immediately after the phrase “This Document Relates To:”. When the document
applies to some, but not all, of the actions, the document shall list, immediately after the phrase
“This Document Relates To:”, the docket number for each individual action to which the
document applies, along with the name of the first-listed plaintiff in said action.

5. This Court requests assistance of counsel in calling to the attention of the Clerk of
this Court the filing or transfer of any case which might not properly be consolidated as part of
this Consolidated Action.

Il. MASTER DOCKET AND MASTER FILE

6. A Master Docket and Master File shall be established for the Consolidated
Action. The Master File shall be No. 1:17-cv-12288. All orders, pleadings, motions and other
documents shall, when filed and docketed in the Master File, be deemed filed and docketed in
each individual case to the extent applicable. When an order, pleading, motion or document is
filed with a caption indicating that it is applicable to fewer than all individual actions in the
Consolidated Action, the clerk shall file such pleadings in the Master File and note such filing in
the Master Docket and in the docket of each action referenced.

Il. APPOINTMENT OF LEAD PLAINTIFFS AND CO-LEAD COUNSEL
7. Having reviewed all pending Motions and accompanying Memoranda of Law, the

Court hereby appoints the Ocular Investor Group and Ramadan as Lead Plaintiffs in the above
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captioned action. Lead Plaintiffs satisfy the requirements for Lead Plaintiff pursuant to Section
21D(a)(3)(B) (iii) of the Private Securities Litigation Reform Act of 1995 (“PSLRA”).

8. Lead Plaintiffs, pursuant to Section 21D(a)(3)(B){v) of the PSLRA, have selected
and retained Pomerantz LLP and Glancy Prongay & Murray LLP as Co-Lead Counsel and
Andrews Devalerio LLP as Liaison Counsel for the Class in the Consolidated Action,

9. Co-Lead Counsel shall have the following responsibilities and duties, to be
carried out either personally or through counsel whom lead counsel shall designate:

(a) to coordinate the briefing and argument of motions;
(b) to coordinate the conduct of discovery proceedings;
(c) to coordinate the examination of witnesses in depositions;

(d) to coordinate the selection of counsel to act as a spokesperson at pretrial
conferences;

(e) to call meetings of the plaintiffs’ counsel as they deem necessary and
appropriate from time to time;

(f) to coordinate all settlement negotiations with counsel for defendants;

(g) to coordinate and direct the pretrial discovery proceedings and the
preparation for trial and the trial of this matter and to delegate work
responsibilities to selected counsel as may be required; and

(h) to supervise any other matters concerning the prosecution, resolution or
settlement of the Consolidated Action.

10. No motion, request for discovery, or other pretrial proceedings shall be initiated
or filed by any plaintiffs without the approval of lead counsel, so as to prevent duplicative
pleadings or discovery by plaintiffs. No settlement negotiations shall be conducted without the
approval of Co-Lead Counsel.

11. Counsel in any related action that is consolidated with this Consolidated Action

shall be bound by this organization of plaintiffs’ counsel.
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12. | Co-Lead Counsel shali have the responsibility of receiving and disseminating
Court orders and notices.

13. Co-Lead Counsel shall be the contact between plaintiffs’ counsel, and shall direct
and coordinate the activities of plaintiffs’ counsel.

14. Defendants shall effect service of papers on plaintiffs by serving a copy of same
on lead counsel by overnight mail service, electronic or hand delivery. Plaintiffs shall effect
service of papers on defendants by serving a copy of same on defendants’ counsel by overnight

mail service, electronic or hand delivery.

SO ORDERED.

Dated: March 9, 2018
Boston, Massachusetts
/s/ George A. O'Toole, Jr.
HONORABLE GEORGE A. O’TOOLE, JR.
UNITED STATES DISTRICT JUDGE
DISTRICT OF MASSACHUSETTS
